Case:09-08945-jrh Doc #:1 Filed: 07/28/2009 Page 1 of 5

BI (Official Form 1) (1/08)

United States Bankruptcy Court
——-WESTERN_DISTRICT OF MICHIGAN

Voluntary Petition

me of Debtor Gif individual, enter Last, First, Middle):
Morgan, Nancy

Name of Joint Debtor (Spouse) (Last, First, Middle):

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

Nancy Mckeague

All Other Names used by the Joint Debtor in the last 8 years
Gnclude married, maiden, and trade names):

Last four digits of Social-Security/Complete EIN or other Tax-1D. No. Gf more than
one, state all): 0680

Last four digits of Social-Secunity, Complete EIN or other Tax-l D. No. Gfmore
than one, state all):

Street Address of Debtor (No. and Street, City, and State):
208 E. Santee Hwy

Street Address of Jomt Debtor (No. and Street, City, and State):

Charlotte MI
__ fap CODE 48813 ] ip CODE ]
wey of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
aton
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address).
CODE fp CODE }

Location of Principal Assets of Business Debtor (if different from street address above):

Full Filing Fee attached.

Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is

og

CODE
Type of Debtor Natare of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check ome box.) the Petition is Filed (Check one box.)
(Check one box.)
(Health Care Business ty Chapter 7 [1] Chapter 15 Petition for
W Individual (includes Jot Debtors) C1 Single Asset Real Estate as defined in Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. LIL ULS.C. § 101(51B) Cl Chapter 11 Main Proceeding
[) Corporation (includes LLC and LLP) C]_sRaikroad El Chapter 12 (J Chapter 15 Petition for
[J Parmership CJ = Stockbroker Chapter 13 Recognition of a Foreign
C] Other (If debtor is not one of the above entities, | [J] Commodity Broker Nonmain Proceeding
check this box and state type of entity below.) Cl Clearing Bank
Ci 9 Other Natare of Debts
(Check one box.)
Tax-Exempt Entity
(Check box, if applicable.) [PY Debts are primarily consumer [J Debes are primarily
debts, defined in 11 U.S.C. business debts.
[Debtor is a tax-exempt organization § 101(8) as “incurred by an
under Title 26 of the United States individual primarily for a
Code (the Internal Revenue Code). personal, family, or house-
_ hold purpose.”
Filing Fee (Check one box.) Chapter 1] Debtors

Check one bax:
(L] Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

C1] Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

unable to pay fee except in installments. Rule 1006(b). See Official Form 3A. Check if:
. C1] Debtor's aggregate noncontingent liquidated debts (exchsding debts owed to
a Filing Fee waiver requested (applicable to chapter 7 imdaviduals only). Must insiders or affiliates) are less than $2,190,000.
attach signed application for the court’s consideration. See Official Form 3B. =| -----------------------------------

Check all boxes:

OO Aplan is sone filed with this petition.

o Acceptances of the plan were solicited prepetition from one of more classes

of creditors, m accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information THIS SPACE IS FOR
. COURT USE ONLY
Oo Debtor estimates that funds will be available for distribution to unsecured creditors. - m™
Wa Debtor estumates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for’. eS
distribution to unsecured creditors. cr ce :
Estimated Number of Creditors - we So ry
Y, 30-99 100-199 EF 00 o p. 1- Da. 23,001- Bon. B rR —
5,000 10,000 25,000 50,000 100,000 100,000" J -<, “
Estimated Assets __. was Tt “3
oo fT g- |= 7
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000.001 MiGerthan So :
$50,000 $100,000 $500.000 = wo $1 to $10 to $50 to $100 to $500 to $1 billion ido ~)
million —_million million million million co fT *

Estimated Laabalities sway QO — .
O o oO oo ‘
SU to $50,001 to $100,001 t $500,001 $1,000,001 10,000,001 $50,000,001 $100,000,001  $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to$l billion $1 billion

Case:09-08945-jrh Doc #:1 Filed: 07/28/2009 Page 2 of 5

Bl (Official Form 1) (1/08) a Page 2
Voluntary Petition Name of Debtor(s):
|_ (This page must be completed and filed in every case.) _ Morgan, Nancy
All Prior Bankruptcy Cases Filed Within Last 8 Years (if more than two, attach additional sheet.)

Location Case Number: Date Filed:

Where Filed:

Location Case Number: Date Filed:

Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:
Exhibit A Exhibit B
(To be completed if debtor is an individual

(To be completed if debtor is required to file periodic reports (e.g., forms 10K and whose debts are primarily consumer debts.)

10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.) I, the attomey for the petitioner named in the foregoing petition, declare that I
have informed the petitioner that [he or she] may proceed under chapter 7. 11.
12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter. I further certify that I have delivered to the
debtor the notice required by 11 U.S.C. § 342(b).

[] Exhibit A is attached and made a part of this petition. x

Signature of Attomey for Debtor(s) Date)

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
O1 Yes, and Exhibit C is attached and made a part of this petition.

YW No.

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
@ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

[FJ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

Information Regarding the Debtor - Venme
(Check any applicable box.)
Debtor has been domiciled or has had a residence, principal place of business, or pemcipal assets in this District for 180 days immediately
preceding the date of this petition or for a longer patt of such 180 days than in any other District.

oO There is a bankruptcy case conceming debtor's affiliate, general partner, or partnership pending in this District.
oO Debtor is a debtor in a foreign proceeding and bas its principal place of business or principal assets in the United States in this District, or

has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal oc state court] in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

Certification by a Dehter Who Resides as a Tenant af Residential Property
(Check ali applicable boxes.)

oO Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

(Name of landlord that obtained judgment)

(Address of landlord)

Oo Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

O Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362())).

Case:09-08945-jrh Doc#:1 Filed: 07/28/2009 Page 3of5

BI (Official Form) 1 (1/08)

Page 3

Voluntary Petition
(This page must be completed and filed in every case.)

Name of Debtor(s):

tures

Signatare(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is true
and correct.

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

[If no attomey represents me and no bankruptcy petition preparer signs the petition] I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code,

Signature af a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true

and correct, that I am the foreign representative of a debtor in a foreign proceeding,
and that I am authorized to file this petition.

(Check only ome box.)

(1 I request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

(Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of ttle 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.

x

Signature of Debtor”) O (Signature of Foreign Representative)

x
Si of Jox . . i Ni of Forei tativ
me OE so - 6ssG (Printed Name of Foreign Representative)
Telephone Number (if not represented by attomey)
2. 2 4-24 Date
Date _ —_
Signature of Attorney” Signature of Non-Attorney Bankruptcy Petition Preparer
x I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as

Signature of Attorney for Debtor(s) defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information

Printed Name of Attomey for Debtor(s) required under 11 U.S.C. §§ 1100), 110(h), and 3420); and, (3)if males or
guadelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum

Firm Name fee for services changeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor

Address of accepting any fee from the debtor, as required in that section. Official Form 19 is
attached.

Telephone Number Printed Name and ttle, if any, of Bankruptcy Petition Preparer

Date Social-Security number (If the bankruptcy petition preparer is not an individual,

state the Social-Security number of the officer, principal, responsible person or
pastner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

Address

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

x

Signature of Authorized Individual

Printed Name of Authonzed Individual

Title of Authorized Individual

Date

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Secunity number is provided above.

Names and Social-Security numbers of all other individuals who prepared oc assisted
in preparing this document unless the bankruptcy petition preparer is not an
indy ividual. -

If more than one person prepared this document, attach additional sheets conforming
to the appropniate official form for each person.

A bankrupicy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or

both, 11 U.S.C. § 110; 18 U.S.C. § 156.

Case:09-08945-jrh Doc #:1 Filed: 07/28/2009 Page 4 of 5

B 8 (Official Form 8) (12/08)

UNITED STATES BANKRUPTCY COURT

WESTERN District of MICHIGAN

In re Morgan, Nancy , Case No.

Debtor : Chapter 7
CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A ~ Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

Property No. 1
Creditor’s Name: Describe Property Securing Debt:
Bank Of America House
Property will be (check one):
FY Surrendered EJ Retained

If retaining the property, I intend to (check at least one):

“1 Redeem the property

A Reaffirm the debt

7 Other. Explain (for example, avoid lien
using 11 U.S.C. § 522(f)).

Pro J 1S (check one):
TW laimed as exempt [Wot claimed as exempt

Property No. 2 (ifnecessary)

Creditor's Name: Describe Property Securing Debt:
Valley First Credit Union 2000 Saturn

Property will be (check one):
("7 Surrendered (Ww Retained

If retaining the property, I intend to (check at least one):

iT Redeem the property

MW Reaffirm the debt

‘J Other. Explain (for example, avoid lien
using 11 U.S.C. § 522(f).

1S (check one):
vo |Claimed as exempt [Tot claimed as exempt -

Case:09-08945-jrh Doc #:1 Filed: 07/28/2009 Page 5of5

B 8 (Official Form 8) (12/08) . Page 2

PART B - Personal property subject to unexpired leases. (Ai! three colunms of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)

Property No. 1

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to 11 U.S.C. § 365(p)(2):
rT YES (J NO

Property No. 2 (if necessary)

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to 11 U.S.C. § 365(p)(2):
EI YES fy NO

Property No. 3 (if necessary)

Lessor’s Name: Describe Leased Property: Lease will be Assumed pursuant
to 11 U.S.C. § 365(p)(2):
PT YES “1 NO

0 continuation sheets attached (ifany)

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date: ~] | r9\ 04 VV oy
Signature of me

Signature of Joint Debtor

